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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

                                       )
PAUL SHAO,                             )
                                       )
            Plaintiff,                 )
                                       )
                    v.                 )              Civil Action No. 1:23cv809 (RDA/WEF)
                                       )
ALLSTATE INSURANCE COMPANY,            )
                                       )
            Defendant.                 )
______________________________________ )

                                              ORDER

       This matter is before the Court on pro se Plaintiff’s Motion for Sanctions and Amended

Motion for Sanctions. (Dkts. 11, 16). Plaintiff waived hearing of both motions. On July 18, 2023,

Defendant filed a brief in opposition to Plaintiff’s Motion for Sanctions. (Dkt. 14). On August 3,

2023, Defendant filed a brief in opposition to Plaintiff’s Amended Motion for Sanctions. (Dkt.

18).

       Plaintiff asserts across both of his motions that Defendant’s attorneys and their law firm

should be sanctioned by the Court pursuant to Rule 3.1-3.9 of the ABA Model Rules of

Professional Conduct and/or Fed. R. Civ. P. 11(b) for three reasons: (1) frivolously noticing

removal of the action to federal court and making false statements about caselaw cited in its notice

of removal; (2) making “blanket denials” of allegations in its answer; and (3) engaging in an “act

of intimidation and harassment” in its answer by asking the Court to award Defendant “costs and

all reasonable attorney’s fees incurred in the defense of this action.” (Dkt. 11, at 5; Dkt. 16, at 1-

2).
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       “Rule 11 requires an attorney who has ‘present[ed] to the court a pleading, written motion,

or other paper—whether by signing, filing, submitting, or later advocating it’ to certify ‘to the best

of the person's knowledge, information, and belief, formed after an inquiry reasonable under the

circumstances’ that, inter alia, ‘the factual contentions have evidentiary support.’” In re Bees, 562

F.3d 284, 287 (4th Cir. 2009) (citing Fed. R. Civ. P. 11(b)). Similarly, under the relevant portions

of the ABA Model Rules of Professional Conduct cited by Plaintiff, lawyers shall not raise issues

“unless there is a basis in law and fact for doing so that is not frivolous, which includes good faith

argument” and “shall not knowingly [] make a false statement of fact or law” or “offer evidence

that a lawyer knows to be false.” See ABA Rules 3.1, 3.3.

       Upon review of Plaintiff’s Motions and Defendant’s opposition briefs, the Court finds that

Defendant has not violated the ABA Model Rules of Professional Conduct or Rule 11(b).

Defendant has shown a good faith basis to believe that the cases cited in its Notice of Removal

were warranted to “find that (a) the amount of damages requested in the complaint determines the

amount in controversy and (b) damages requested in the complaint can be aggregated to meet the

$75,000 threshold necessary for diversity jurisdiction.” (Dkt. 1, at 2-3; Dkt. 18 ¶ 3). Additionally,

Defendant’s bases for removing the case to federal court, which include 28 U.S.C. §§ 1331, 1332,

1441, and 1446, was not frivolous. (Dkt. 1, at 2-3). Plaintiff also challenges the sufficiency of

Defendant’s denials in its answer. (Dkt. 16, at 5-11). The Court has reviewed the challenged

denials and finds that the challenged denials are sufficient or at least reasonable under the

circumstances. See, e.g., Hubbard v. South Carolina Department of Mental Health, C/A No. 3:20-

2482-JMC-SVH, 2021 WL 147081, at *1 (D.S.C. Jan. 15, 2021) (finding “the challenged denials

were either sufficient or at least reasonable” given that “[p]laintiff’s relevant allegations [were]

argumentative or state[d] legal conclusions”). Further, the Court does not find Defendant’s request
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for an award of attorneys’ fees was “in bad faith” or “an act of intimidation and harassment.” (Dkt.

16, at 2, 11).

        Accordingly, it is hereby

        ORDERED that Plaintiff’s Motion for Sanctions and Amended Motion for Sanctions

(Dkts. 11, 16) are DENIED.

        ENTERED this 29th day of August, 2023.




                                              WILLIAM E. FITZPATRICK
                                              UNITED STATES MAGISTRATE JUDGE
Alexandria, Virginia
